

People v Vanderhoef (2023 NY Slip Op 03582)





People v Vanderhoef


2023 NY Slip Op 03582


Decided on June 30, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, MONTOUR, OGDEN, AND GREENWOOD, JJ.


202 KA 22-00044

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vDAVID L. VANDERHOEF, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






CAITLIN M. CONNELLY, BUFFALO, FOR DEFENDANT-APPELLANT. 
BROOKS T. BAKER, DISTRICT ATTORNEY, BATH (JOHN C. TUNNEY OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Steuben County Court (Philip J. Roche, J.), rendered November 23, 2021. The judgment convicted defendant upon a plea of guilty of aggravated unlicensed operation of a motor vehicle in the third degree and driving while ability impaired by drugs. 
It is hereby ORDERED that the judgment so appealed from is unanimously modified as a matter of discretion in the interest of justice and on the law by vacating the fine imposed on count one of the indictment and as modified the judgment is affirmed.
Same memorandum as in People v Vanderhoef ([appeal No. 1] — AD3d — [June 30, 2023] [4th Dept 2023]).
Entered: June 30, 2023
Ann Dillon Flynn
Clerk of the Court








